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                   Exhibit 1
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


   TRIDINETWORKS LTD.,
                                                        No. 1:19-01064-CFC
                                 Plaintiff,

   v.
   NXP USA, INC. and NXP B.V.,
                                                        DECLARATION OF RONALD
                                                        ABRAMSON
                                 Defendants.




         I, Ronald Abramson, declare as follows under penalty of perjury:

         1.     I am one of the attorneys for Plaintiff TriDiNetworks Ltd.(“TDN”) in this action.

  I make this Declaration in support of TDN’s opposition to Defendants’ motions to dismiss, to

  authenticate certain documents and information that TDN cites in opposition to said motions.

         2.     Attached as Exhibit A hereto is a true copy of the JN-UG-3108 User Guide for the

  NXP JN-516x-EK004 Evaluation Kit referenced in the First Amended Complaint herein.

         3.     Attached as Exhibit B hereto are true copies of the written pre-suit notice

  correspondence referenced in the complaint.

         4.     Below is a true copy of the Corporate Structure chart from page 27 of the 2019

  SEC 20-F report of NXP Semiconductors N.V., reflecting in demonstrrative form the substance

  of what is otherwise related regarding NXP corporate structure in the complaint and in the

  declaration filed herein on behalf of NXP B.V.
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         5.     Below is a true copy of the portion of the web page at media.nxp.com that

  identifies the copyright owner of the site only as “NXP Semiconductors.”




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         6.     Below is a current (October 30, 2019) true and correct printout of the domain

  name “whois” data for nxp.com, which shows (as also stated in NXP B.V.’s declaration herein)

  that the site is owned by NXP B.V.:




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        I declare under penalty of perjury that the foregoing is true and correct.

  Executed on November 1, 2019 at New York, New York, U.S.A.

                                               /s/ Ronald Abramson

                                               RONALD ABRAMSON




                                                -4-
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                                   EXHIBIT A
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                            JN516x-EK004 Evaluation Kit
                                           User Guide



                                                                       JN-UG-3108
                                                                       Revision 2.0
                                                                      20 June 2016
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  JN516x-EK004 Evaluation Kit
  User Guide




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                                                                          JN516x-EK004 Evaluation Kit
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                                                                                            User Guide


   Preface
               This manual provides an introduction to the NXP JN516x-EK004 ZigBee Evaluation
               Kit, based around the JN516x family of wireless microcontrollers. The manual also
               describes how to run the pre-loaded ZigBee Smart Home Demonstration using
               components from the kit. In addition, information is provided on the wireless network
               protocols supported by the evaluation kit and the NXP resources available to develop
               custom JN516x applications using these protocols.
               Users with the pre-production version of the kit should refer to v1.0 of this User Guide.



         Organisation
               This manual consists of three chapters and four appendices, as follows:
                      Chapter 1 introduces the JN516x-EK004 Evaluation Kit and outlines the key
                       concepts for an understanding of wireless networks.
                      Chapter 2 describes how to use the evaluation kit to set up and run the
                       pre-loaded ZigBee Smart Home Demonstration.
                      Chapter 3 provides guidance on where to go next in order to develop custom
                       JN516x applications that can be run on the components of the kit.
                      The Appendices provide:
                            Details of the individual kit components
                            Guidance on setting up a packet sniffer using one of the supplied dongles
                            Guidance on re-programming the firmware of certain kit components
                            Instructions for installing the FTDI device driver for USB connections


         Conventions
               Files, folders, functions and parameter types are represented in bold type.
               Function parameters are represented in italics type.
               Code fragments are represented in the Courier New typeface.


                                     This is a Tip. It indicates useful or practical information.




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   About this Manual



                           This is a Note. It highlights important additional
                           information.




                           This is a Caution. It warns of situations that may result
                           in equipment malfunction or damage.




        Acronyms and Abbreviations
              ADC      Analogue to Digital Converter
              API      Application Programming Interface
              DC       Direct Current
              DHCP     Dynamic Host Configuration Protocol
              DIO      Digital Input/Output
              FTDI     Future Technology Devices International
              GPIO      General Purpose Input/Output
              HA       Home Automation
              IEEE     Institute of Electrical and Electronics Engineers
              IoT      Internet of Things
              IP       Internet Protocol
              JTAG     Joint Test Action Group
              LAN      Local Area Network
              LED      Light Emitting Diode
              LPRF     Lower Power Radio Frequency
              NFC      Near Field Communication
              PSU      Power Supply Unit
              PWM      Pulse Width Modulation
              RF       Radio Frequency
              RTOS     Real Time Operating System
              SBC      Single Board Computer
              SDK      Software Developer’s Kit
              SMA      SubMiniature version A
              SSID     Service Set Identifier


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               UART            Universal Asynchronous Receiver/Transmitter
               USB             Universal Serial Bus
               WAN             Wide Area Network
               WPAN            Wireless Personal Area Network
               ZCL             ZigBee Cluster Library
               ZLL             ZigBee Light Link



         Related Documents
               JN-UG-3098 BeyondStudio for NXP Installation and User Guide
               JN-UG-3099 JN51xx Production Flash Programmer User Guide
               JN-UG-3112 NFC Commissioning User Guide
               JN-AN-1221 ZigBee HA Lighting with NFC Application Note
               JN-AN-1222 ZigBee IoT Gateway Host with NFC Application Note
               JN-AN-1223 ZigBee IoT Gateway Control Bridge Application Note
               JN-RD-6036 Carrier Board and Expansion Boards Reference Design



         Support Resources
               To access online support resources such as SDKs, Application Notes and User
               Guides, visit the Wireless Connectivity area of the NXP web site:
                     www.nxp.com/products/interface-and-connectivity/wireless-connectivity
               All NXP resources referred to in this manual can be found at the above address,
               unless otherwise stated.



         Optional Components
               The following additional/optional hardware components are available for use with the
               JN516x-EK004 Evaluation Kit:

                 Part Number          Name

                 JN5169XK010          ZigBee Generic Node Expansion Kit

                 JN5169XK020          ZigBee Lighting/Sensor Node Expansion Kit

                 OM15020              JN5169 USB Dongle


               These products can be individually ordered via the NXP web site (www.nxp.com).




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   About this Manual



        Trademarks
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                                                                            JN516x-EK004 Evaluation Kit
                                                                                           User Guide


   1. Introduction to the Evaluation Kit
               Welcome to the JN516x-EK004 ZigBee Evaluation Kit, which is based around the
               NXP JN516x family of wireless microcontrollers. A ZigBee Smart Home
               Demonstration is pre-loaded into certain kit components, allowing a small wireless
               network with IP connectivity to be quickly assembled and used. The evaluation kit can
               also be used in conjunction with NXP’s range of Software Developer’s Kits (SDKs) to
               develop new wireless network applications for the JN516x devices. Support resources
               are also provided to allow the integration of a network into the ‘Internet of Things’ (IoT).
               The wireless network protocols supported by the evaluation kit are as follows:
                      IEEE 802.15.4
                      ZigBee PRO with Home Automation (HA) profile
                      ZigBee PRO with ZigBee Light Link (ZLL) profile
                      ZigBee 3.0 with ZigBee Lighting & Occupancy (ZLO) devices


                                    Note: The pre-loaded ZigBee Smart Home
                                    Demonstration is based on ZigBee PRO with the Home
                                    Automation profile.


               This chapter introduces you to the evaluation kit and wireless networks by describing:
                      Contents of the kit - see Section 1.1
                      Wireless network fundamentals - see Section 1.2
                      IP connectivity - see Section 1.3
                      Network commissioning - see Section 1.4
                      Pre-loaded ZigBee Smart Home Demonstration - see Section 1.5


                                    Note 1: Details of the individual hardware components
                                    of the kit are provided in Appendix A.
                                    Note 2: If you wish to run the pre-loaded ZigBee Smart
                                    Home Demonstration, go to Chapter 2. A Quick Start
                                    procedure for running this demonstration is also
                                    provided on the JN516x-EK004 Getting Started sheet
                                    (JN-UG-3107), which is supplied in the kit box.
                                    Note 3: Users with the pre-production version of the kit
                                    should refer to v1.0 of this User Guide.




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   Chapter 1
   Introduction to the Evaluation Kit


         1.1 Kit Contents
               The JN516x-EK004 evaluation kit contains the hardware components required to
               assemble a wireless network which may be connected to an IP-based network (such
               as the Internet). The principal network components included in the kit are:
                   Carrier Boards which host a JN5169 module and which can be fitted with the
                    supplied Expansion Boards (see below) to achieve the desired functionality -
                    the supplied NFC tag board can be attached to facilitate NFC commissioning
                   Expansion Boards which can be mounted on the Carrier Boards in order to
                    provide them with the required functionality: Lighting/Sensor or Generic
                   Dongles including JN5169 USB Dongles (featuring the JN5169 wireless
                    microcontroller) and a Wi-Fi adaptor for the Raspberry Pi board (see below)
                   Raspberry Pi Computer which, together with a JN5169 USB Dongle, forms an
                    IoT Gateway that allows the wireless network to be connected to an IP-based
                    network, including the Internet.
                   NFC Controller Board which connects to the Raspberry Pi board and can be
                    used to read the supplied NFC tag to implement NFC commissioning
                   NFC Tag Board which connects to a Carrier Board to facilitate the NFC
                    commissioning of the node
               The contents of the kit are shown in the photograph below.




                               Figure 1: JN516x-EK004 Evaluation Kit


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               The full contents of the kit are listed below (numbers refer to Figure 1 above).
                                                                                                        (Note a)
                     1. Raspberry Pi single-board computer (Model B+) and microSD card
                     2. Wi-Pi Raspberry Pi 802.11n wireless adaptor (for Wi-Fi connectivity)
                     3. 2 JN5169 USB Dongles with integrated antenna              (Note b)

                     4. 2 Carrier Boards:
                             one pre-fitted with a Generic Expansion Board and a
                              JN5169 module with integrated antenna (Note b)
                             one pre-fitted with a Lighting/Sensor Expansion Board and a
                              JN5169 module with integrated antenna (Note b)
                     5. JTAG Expansion Board
                     6. PN7120 NFC Controller Board with Raspberry Pi Interface Board
                     7. 2 NTAG I2C plus Antenna Boards
                     8. 2 40-way connection adaptors for NTAG I2C plus Antenna Boards
                     9. 5V DC power supply unit (universal type) with USB port for Raspberry Pi
                     10. 12V DC power supply unit for Carrier Boards (Note c)
                     11. 5-way 2.1mm daisy-chain power extender-cable (for use with Carrier Boards)
                     12. ‘USB to Micro USB’ cable (for powering Raspberry Pi from 5V PSU)
                     13. 'USB to USB' extension cable (for use with a JN5169 USB Dongle)
                     14. 2 'USB A to Mini B' cables
                     15. RJ45 Ethernet cable
                     16. microSD card adaptor
                     17. 9 AAA batteries
               Notes:
                         a) The Raspberry Pi board’s microSD card is programmed with NXP firmware (an adaptor is
                            provided to allow re-programming of the microSD card from a PC).
                         b) The pre-fitted JN5169 modules and the JN5169 USB Dongle with a green sticker are pre-
                            programmed with the relevant binaries for the ZigBee Smart Home Demonstration. The
                            JN5169 USB Dongle with a red sticker is pre-programmed as a packet sniffer.
                         c) The NTAG I2C plus Antenna Board with a green sticker should be used with the Lighting/
                            Sensor Expansion Board and the one with the red sticker should be used with the Generic
                            Expansion Board.
                         d) The 12V DC PSU accepts universal input voltages (100-240V, AC 50/60Hz) but is fitted
                            with a European plug. It can be used outside Europe by plugging it into the universal AC
                            outlet socket of the 5V DC PSU.

         Additional Nodes (Available Separately)
                      JN5169XK010 ZigBee Generic Node Expansion Kit: Contains a Carrier
                       Board with a Generic Expansion Board and JN5169 module
                      JN5169XK020 ZigBee Lighting/Sensor Node Expansion Kit: Contains a
                       Carrier Board with a Lighting/Sensor Expansion Board and JN5169 module
                      JN5169 USB Dongle (OM15020): Pre-programmed as a packet sniffer


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   Chapter 1
   Introduction to the Evaluation Kit


         1.2 Wireless Network Fundamentals
               This section covers the basic concepts that are relevant to the wireless network
               protocols supported by the JN516x-EK004 evaluation kit, notably IEEE 802.15.4 and
               ZigBee PRO (which is itself built on IEEE 802.15.4). For a more complete introduction
               to wireless networks, refer to the manual for the relevant protocol (see Section 3.3).
               The topics covered are:
                   Radio frequency - see Section 1.2.1
                   Network identification - see Section 1.2.2
                   Node types - see Section 1.2.3
                   Network formation and topology - see Section 1.2.4
                   Wireless network protocol stacks - Section 1.2.5


         1.2.1 Radio Frequency
               The JN5169-based devices of the evaluation kit communicate in the 2400-MHz radio
               frequency (RF) band. This is one of the standard RF bands used by the IEEE 802.15.4
               wireless network protocol (on which all the supported protocols are based), and is
               available for unlicensed use in most geographical areas (check your local radio
               communication regulations).
               The 2400-MHz band spans radio frequencies 2400 to 2483.5 MHz and is divided into
               16 channels, numbered 11 to 26 (the numbers up to 10 are used for other RF bands)
               - see Figure 2 below.

               2400 MHz                                                                     2483.5 MHz

                   Ch11 Ch12 Ch13   .....                                                  Ch26




                                               5 MHz


                                        Figure 2: 2400-MHz RF Band

               The channel of operation for a network can be specified by the application or,
               alternatively, the network can search for the best channel (the one with least detected
               activity) at system start-up.




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         1.2.2 Network Identification
               A wireless network must have a unique identifier which allows it to be distinguished
               from other networks in the same operating neighbourhood. IEEE 802.15.4-based
               protocols use a 16-bit value called the PAN ID. This identifier can be pre-defined in the
               user application or chosen by the PAN Co-ordinator which creates the network (see
               Section 1.2.3), but it must not clash with the PAN ID of a neighbouring network.
               A wireless network protocol may also use its own network identifier (in addition to the
               PAN ID) - for example, in the ZigBee PRO protocol, a 64-bit Extended PAN ID (EPID)
               is also used.


         1.2.3 Node Types
               In addition to running an application (e.g. temperature measurement), each node of a
               wireless network has a networking role. Most IEEE 802.15.4-based networks can
               contain three types of node differentiated by their networking roles, as follows:

                Node Type      Description

                Co-ordinator   A wireless network has one and only one Co-ordinator, or PAN Co-ordinator. This
                               node has a role in starting and forming the network, and can also have a routing role
                               (passes messages from one node to another). Messages can also originate and
                               terminate here.

                Router         This node passes messages from one node to another. Messages can also originate
                               and/or terminate at a Router. This node type is also sometimes referred to as a Local
                               Co-ordinator.

                End Device     This node is simply a place where messages can originate and/or terminate (the
                               node does not have a routing role). In order to conserve power, an End Device can
                               sleep when it is not required to be active.

                                     Table 1: Node Types in a Wireless Network




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   Chapter 1
   Introduction to the Evaluation Kit

         1.2.4 Network Formation and Topology
               A wireless network is formed as follows:
                   1. The first node to be started is the Co-ordinator, which performs network
                      initialisation including the selection of the radio channel in which the network
                      will operate (see Section 1.2.1) and the PAN ID of the network (see Section
                      1.2.2).
                   2. Once the initialisation is complete, the Co-ordinator allows other nodes to join
                      it as its ‘children’ - the Co-ordinator is referred to as a ‘parent’. These child
                      nodes can be Routers and/or End Devices.
                   3. Each Router may itself become a parent by allowing child nodes to join it
                      (which may themselves be Routers and/or End Devices). In this way, the
                      network grows.
               A number of network shapes or topologies are possible, which are dependent on the
               wireless network protocol used. These are the Star, Tree and Mesh topologies,
               described in the sub-sections below.


         1.2.4.1    Star Networks
               A Star network contains only one routing node, which is the Co-ordinator. Thus, all
               messages between the network nodes are routed via the central Co-ordinator.




                                                          Co-ordinator




                                         Figure 3: Star Network




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         1.2.4.2     Tree Networks
               A Tree network may contain the full range of node types - Co-ordinator, Routers and
               End Devices - with the Co-ordinator at the top of the (inverted) tree. Any node can only
               communicate directly with its parent and children (if any). Thus, a message for a
               remote node must be passed up the tree until it can passed down to its destination.




                              Indicates route taken by
                              message




                                                 Figure 4: Tree Network


         1.2.4.3     Mesh Networks
               A Mesh network may contain the full range of node types - Co-ordinator, Routers and
               End Devices. Any routing node (Router or Co-ordinator) can communicate directly
               with any other routing node within radio range. However, an End Device can only
               communicate directly with its parent. When sending a message between two nodes
               that cannot communicate directly, the message is routed via intermediate routing
               nodes (for which there may be more than one possible route).




                              Indicates route taken by
                              message, although a
                              number of alternative
                              routes are available




                                              Figure 5: Mesh Topology



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   Chapter 1
   Introduction to the Evaluation Kit

         1.2.5 Wireless Network Protocol Stack
               The software which runs on a wireless network node deals with both application-
               specific tasks (e.g. temperature measurement) and networking tasks (e.g. assembling
               a message to send to another node). The software on a node is organised as a
               number of layers, forming a stack, with the user application at the top. The basic layers
               of a wireless network protocol stack are typically as illustrated in Figure 6 below.


                                             Application layer


                                              Network layer


                                              Data Link layer


                                              Physical layer


                                   Figure 6: Basic Layers of Stack

               The stack layers are outlined below, from top to bottom:
                   Application layer: Contains the user applications which run on the network
                    node and provides an interface to the lower layers
                   Network layer: Provides the networking functionality and an interface to the
                    IEEE 802.15.4 layers (see below) - for example, this layer could be provided by
                    the ZigBee PRO protocol, but is not required for a pure IEEE 802.15.4 network
                   Data Link layer: Provided by the MAC (Media Access Control) layer of the
                    IEEE 802.15.4 standard, and responsible for message assembly/disassembly
                    and addressing (e.g. specifying the destination of outgoing messages)
                   Physical layer: Provided by the PHY (Physical) layer of the IEEE 802.15.4
                    standard and concerned with interfacing to the physical transmission medium
                    (radio, in this case)
               A number of C APIs (Application Programming Interfaces) are provided to allow a user
               application to easily interact with the layers of the stack. The required APIs depend on
               the protocol used (e.g. IEEE 802.15.4, ZigBee PRO) and are supplied in the relevant
               NXP Software Developer’s Kit (SDK) - see Section 3.1.
               The software components that implement the Data Link and Physical layers of the
               stack are pre-programmed in on-chip ROM. The user application is developed and
               built on a PC. The resulting application binary file also incorporates the Network layer
               of the stack and is loaded into the Flash memory of the node.
               In order to use the ZigBee Smart Home Demonstration that is pre-loaded in the
               JN516x-EK004 evaluation kit boards, no knowledge of the protocol software is
               required. However, you should familiarise yourself with the software for your chosen
               protocol before starting your own application development - refer to Section 3.3 for
               details of the user documentation for the different protocols.


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         1.3 Internet of Things (IoT)
               The ‘Internet of Things’ (IoT) refers to the concept of electrical devices being
               connected via the Internet, irrespective of their basic functionality. This allows the
               devices to be remotely controlled and monitored from other devices on the Internet -
               for example, from a PC, tablet or smart phone.
               The IoT idea includes the possibility of connecting a WPAN, such as a ZigBee
               network, to the Internet. In this case, the WPAN may have a single connection to the
               Internet shared by all the nodes of the network, but the nodes will be individually
               accessible from the Internet. The Internet connection for a WPAN is provided by a
               device called an IoT Gateway. A basic system is shown in Figure 7 below.




                                    Figure 7: WPAN Connected to IoT


         1.3.1 IoT Gateway
               The IoT Gateway allows commands and data to be passed between the Internet and
               WPAN domains, in both directions. The device runs a protocol stack for each of its two
               sides, which are as follows:
                      IP Host: This side runs an IP stack to send/receive data packets to/from the
                       Internet - this is normally an IPv6 stack.
                      Control Bridge: This side runs a wireless network protocol stack to send/
                       receive data packets to/from the WPAN - this may be an IEEE 802.15.4-based
                       stack, such as the ZigBee PRO stack. This part of the Gateway usually acts as
                       a WPAN node, such as a Co-ordinator or Router.
               The two stacks are connected within the IoT Gateway. The basic architecture of an
               IoT Gateway is illustrated in Figure 8 below.




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                                    IP Host                           Control Bridge



                                                                         Wireless
                                                                         Network
                                   IP Stack
                                                                         Protocol
                                                                          Stack
          To/from                                                                                To/from
          Internet                                                                               WPAN




                             Figure 8: Basic Architecture of an IoT Gateway


         1.3.2 IP Connectivity of the Kit
                In the JN516x-EK004 evaluation kit, an IoT Gateway can be formed from the
                Raspberry Pi board together with a JN5169 USB Dongle:
                      The Raspberry Pi provides the IP Host, interfacing to the IP domain
                      The JN5169 USB Dongle provides the Control Bridge, interfacing to the WPAN,
                       and also acts as the WPAN Co-ordinator
                This IoT Gateway implementation is illustrated in Figure 9 below.



                                                    IoT Gateway




               LAN
                                              Raspberry Pi   +                         WPAN




                                 Figure 9: IoT Gateway Implementation

                The Raspberry Pi microSD card is pre-programmed with NXP firmware which allows
                the IP Host to operate in conjunction with a ZigBee Control Bridge. The JN5169 USB
                Dongle with a green sticker is pre-programmed with firmware for a ZigBee Control
                Bridge and Co-ordinator.




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               The JN5169 USB Dongle can be plugged into any USB port of the Raspberry Pi. In
               the case where the IP connection will be provided via Wi-Fi, the supplied Wi-Pi adaptor
               must be plugged into another USB port of the Raspberry Pi (the Wi-Pi adaptor creates
               its own Wi-Fi network). If both the dongle and adaptor are required, the dongle must
               be connected to a port via a USB cable to ensure isolation of the two devices.
               The IP connection can be to an existing wired LAN or via a new Wi-Fi LAN:
                      To connect to an existing wired LAN, the supplied Ethernet cable must be used
                       to connect the Raspberry Pi to a router in the LAN. The LAN must include a
                       DHCP server to allocate an IP address to the Raspberry Pi. The DHCP leases
                       in the router will need to be examined in order to determine the IP address
                       allocated to the Raspberry Pi.
                      To use a Wi-Fi connection, the Wi-Pi adaptor must be plugged into the
                       Raspberry Pi. The Wi-Pi adaptor will create its own Wi-Fi network (rather than
                       join an existing Wi-Fi network). A PC can then interact with the Raspberry Pi by
                       joining this Wi-Fi network (which has the SSID Iot_GW_NXP). In this case, the
                       Raspberry Pi is allocated the fixed IP address 192.168.2.1.
               The pre-programmed ZigBee Smart Home Demonstration uses a Wi-Fi connection.



         1.4 Network Commissioning
               A WPAN is started by the Co-ordinator and other nodes can then join the network, as
               indicated in Section 1.2.4. Network commissioning may also include the following:
                      Network joining and subsequent network operation may employ security keys
                       to implement encrypted communications between nodes, to make the network
                       secure from malicious tampering. NFC commissioning is becoming an
                       important technique in establishing this security and is supported by the
                       JN516x-EK004 evaluation kit. NFC commissioning is outlined in Section 1.4.1.
                      Once a node has joined a network, it may need to be linked to one or more
                       other nodes from a functional point-of-view. For example, when a new light is
                       added to a lighting network, it may be required that a particular light switch
                       (already in the network) is used to control the new light. There are different
                       ways of establishing this link and these are described in Section 1.4.2.




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         1.4.1 NFC Commissioning Process
               The commissioning of network nodes can be performed via Near-Field
               Communications (NFC). This involves the exchange of a unique security key, through
               the close proximity required by NFC, to ensure that all communications to/from the
               joining node are encrypted during the commissioning process. Node commissioning
               is therefore secure and cannot be conducted remotely by third parties to introduce
               nodes for malicious purposes.
               In its basic form, the NFC commissioning of a node to a WPAN requires the following
               security keys:
                   Unique Link Key: An NFC tag on the node must be pre-programmed with a
                    link key that is unique to the node and that will be used in the commissioning
                    process.
                   Network Key: The network Co-ordinator contains a network key that is used to
                    encrypt all radio communications between the nodes during normal operation
                    of the network.
               As part of the commissioning process, the network key must be communicated from
               the Co-ordinator to the joining node in a secure manner, so that the node can later use
               the key to encrypt and decrypt network-level communications. The commissioning
               process works as follows:
                  1. The NFC tag of the joining node is brought close to the NFC Controller
                     (mounted on the Raspberry Pi board, which is itself connected to the JN5169
                     USB Dongle that acts as the network Co-ordinator). This action is known as
                     an ‘NFC tap’.
                  2. During this NFC tap, the NFC Controller reads the unique link key from the
                     NFC tag of the joining node and this key is internally passed to the
                     Co-ordinator.
                  3. During this same NFC tap, the Co-ordinator uses the unique link key to
                     encrypt the network key and sends it by NFC to the joining node.
                  4. The joining node receives the encrypted network key and decrypts it using the
                     unique link key.
               The joining node now has the network key which allows it to subsequently participate
               in secure network-level communications. Therefore, the network credentials are never
               sent over the air, providing a safer method of commissioning.
               The JN516x-EK004 evaluation kit is equipped with the necessary components for
               NFC commissioning:
                   The supplied NTAG I2C plus Antenna Boards (see Appendix A.9) are ‘NFC
                    connected tags’ which can be attached to the Carrier Boards via supplied
                    adaptors. A Carrier Board is the basis of a WPAN node and the NFC tag is
                    used to join the node to the network.
                   The supplied NFC Controller (see Appendix A.8) attaches to the Raspberry Pi
                    board. The NFC Controller is able to read data from the NFC tag attached to a
                    Carrier Board (node) as part of the secure commissioning process.
               For more information on NFC commissioning, refer to the NFC Commissioning User
               Guide (JN-UG-3112).


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         1.4.2 Addressing, Binding and Grouping
               The available methods for establishing a functional link between a controlling node or
               source node and a target node are as follows:
                      Direct Addressing: The source node can simply send commands to the
                       address of the target node. This may be the permanent 64-bit IEEE/MAC
                       address of the node or a 16-bit network (or short) address allocated to the node
                       when it joined the network.
                      Binding: In a ZigBee PRO network, ‘binding’ can be used to set up this link. An
                       application on the source node can be bound to an application on the target
                       node such that commands issued by the source application are always sent to
                       the target node without needing to specify an address. The source node can be
                       bound to multiple target nodes.
                      Grouping: In a ZigBee PRO network, ‘grouping’ can alternatively be used to
                       set up this link, particularly when controlling multiple target nodes
                       simultaneously (e.g. several lights in unison). The target nodes are collected
                       into a group with an associated 16-bit group address. A target node ‘knows’
                       which groups it belongs to - this information is held in a table on the node.
                       When the source node sends a command to a group address, the command is
                       broadcast to all nodes in the network. A receiving node is able to identify
                       whether it is a member of the relevant group and only the nodes in the group
                       react to the command.




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         1.5 ZigBee Smart Home Demonstration
               Certain components of the kit are pre-loaded with the software for a simple
               demonstration network. Running this ZigBee Smart Home Demonstration will allow
               you to use components of the kit without programming them yourself.
               The demonstration is a lighting system which allows the white LEDs on a node/board
               (Dimmable Light) of a WPAN to be controlled (switched on/off, brightness adjusted) in
               the following ways:
                   From within the WPAN using the buttons on a controller node/board
                    (Dimmer Switch)
                   From outside the WPAN via an IP connection from a PC
               The demonstration system is depicted in its basic form below in Figure 10.



                          Dimmable Light

                                                                 IoT       LAN (IP)
                                                               Gateway




                       WPAN




                                           Dimmer Switch




                                       Figure 10: Demonstration System

               More detailed information and instructions on how to run the demonstration are
               provided in Chapter 2.


                                       Note 1: A Quick Start procedure for running this
                                       demonstration is also provided on the JN516x-EK004
                                       Getting Started sheet (JN-UG-3107), which is supplied
                                       in the kit box.
                                       Note 2: The demonstration application code is
                                       described in the Application Note ZigBee HA Lighting
                                       with NFC (JN-AN-1221), which also contains the
                                       relevant source and binary files.




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   2. Using the Smart Home Demonstration
               The chapter describes how to use the contents of the JN516x-EK004 evaluation kit to
               set up and run the pre-loaded ZigBee Smart Home Demonstration. The demonstration
               is concerned with the control of a light in a ‘Smart Home’ and has the following
               features:
                      ZigBee wireless network: This network contains the light to be controlled, as
                       well as a dimmer switch that can be used to wirelessly control the light.
                      ‘Internet of Things’ (IoT) Gateway: This device connects the ZigBee wireless
                       network to the IP domain, allowing the light to be controlled from a web browser
                       on a PC.
                      NFC commissioning: The formation of the ZigBee wireless network is
                       simplified by means of NFC commissioning, which allows a node to be joined to
                       the network through the simple action of an NFC tap.


                                    Note 1: A Quick Start procedure for running this
                                    demonstration is provided on the JN516x-EK004
                                    Getting Started sheet (JN-UG-3107), which is supplied
                                    in the kit box.
                                    Note 2: This demonstration is based on the ZigBee
                                    PRO protocol with the Home Automation profile.
                                    Note 3: For further information on this demonstration,
                                    refer to the Application Note ZigBee HA Lighting with
                                    NFC (JN-AN-1221).



         2.1 Demo System Overview
               This ZigBee Smart Home Demonstration is based on a ZigBee WPAN containing a
               light node (Dimmable Light) that can be controlled as follows:
                      From within the WPAN using the buttons on a controller node (Dimmer Switch)
                      From a web browser on a PC located in a Wi-Fi LAN that is connected via an
                       IoT Gateway to the WPAN
               The demonstration system is illustrated in Figure 11.




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                      PC
             Control commands issued
                from web browser




                                                                     Dimmable Light




                           Wi-Fi                                     Carrier Board

                                              ZigBee PRO WPAN
                                                                                      Dimmer Switch



              IoT Gateway
                                                                                      Carrier Board
                       Wi-Pi
                      Adaptor


                  Raspberry Pi              USB Dongle
                                USB
                                            Co-ordinator



                       Figure 11: ZigBee Smart Home Demonstration System

             The system is made up from components of the evaluation kit as follows:
                  Dimmable Light:
                           Carrier Board with JN5169 module and NFC antenna
                           Lighting/Sensor Expansion Board, providing the LEDs
                  Dimmer Switch:
                           Carrier Board with JN5169 module and NFC antenna
                           Generic Expansion Board, providing the control buttons
                  IoT Gateway:
                           Raspberry Pi board
                           Wi-Pi adaptor, providing the Wi-Fi connection (and DHCP server)
                           JN5169 USB Dongle, acting as the ZigBee Co-ordinator and providing the
                            connection to the WPAN
                           NFC Controller Board, providing NFC commissioning
             For detailed descriptions of the above components, refer to Appendix A.
             The Dimmable Light and Dimmer Switch nodes both act as ZigBee Routers.


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         2.2 Setting Up the IoT Gateway
               This section describes how to set up the IoT Gateway for the ZigBee Smart Home
               Demonstration. As detailed in Section 2.1, the IoT Gateway comprises:
                      Raspberry Pi board with microSD card
                      Wi-Pi adaptor
                      JN5169 USB Dongle (with a green sticker)
                      NFC Controller


                                   Note: The IoT Gateway is fully detailed in the
                                   Application Notes ZigBee IoT Gateway Host with NFC
                                   (JN-AN-1222) and ZigBee IoT Gateway Control Bridge
                                   (JN-AN-1223).


      Step 1 Ensure that the PC is up and running
               If not already done, power-up the PC and wait for the boot process to complete.
      Step 2 Connect the Wi-Pi adaptor to the Raspberry Pi board
               Plug the supplied Wi-Pi adaptor into any USB socket of the Raspberry Pi board, but
               do not power-up the Raspberry Pi yet.
      Step 3 Connect the JN5169 USB Dongle to the Raspberry Pi board
               Connect the JN5169 USB Dongle with a green sticker (this dongle is programmed as
               a ZigBee Control Bridge and Co-ordinator) to any USB socket of the Raspberry Pi
               board via the supplied USB-to-USB cable (use of this cable ensures that the dongle is
               isolated from the Wi-Pi adaptor).
               Also check that the pre-installed microSD card is securely fitted to the Raspberry Pi.
      Step 4 Mount the NFC Controller onto the Raspberry Pi board
               Install the NXP PN7120 NFC Controller assembly (NFC Controller Board pre-mounted
               on a Raspberry Pi Interface Board) on the Raspberry Pi board. For information on the
               NFC Controller and related documentation, refer to Appendix A.8. If in doubt about this
               installation, refer to the PN7120 NFC Controller SBC Kit Quick Start Guide (AN11646)
               - note that the supplied Raspberry Pi board is a B+ model.
      Step 5 Connect the Raspberry Pi board to a power supply
               Power-up the Raspberry Pi board (and therefore IoT Gateway) by connecting it to a
               power supply. To do this, connect the supplied 5V DC PSU to the mains supply and
               then use the ‘USB to Micro USB’ cable to connect the Raspberry Pi board to a USB
               port on the PSU.




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                The equipment should now be as shown below.




        Step 6 Wait for the IoT Gateway to start up
                Wait about 20 seconds for the IoT Gateway to boot. During the boot process, the
                following will occur:
                a) The red LED on the Raspberry Pi board will illuminate.
                b) The green LED on the Raspberry Pi board will flash.
                c) An audible beep will be sounded by the Raspberry Pi board.




                The IoT Gateway is then ready. When in this state, the green LED on the NFC
                Controller board flashes.
                The Wi-Pi adaptor will have created a Wi-Fi network (initially consisting of only itself).
        Step 7 Direct a web browser on the PC to the IoT Gateway
                a) Connect the PC to the ZigBee network via the IoT Gateway by specifying the
                   SSID (name) of the network, which is Iot_GW_NXP.
                b) Direct a web browser on the PC to the IoT Gateway’s web interface using either
                   the default IP address 192.168.2.1 or the URL http://iot-gw.nxp.


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               The first page of the interface displayed in the browser is the “IoT Rooms” page
               (shown below). This shows the different rooms of the Smart Home (Bathroom,
               Kitchen, Bedroom and Living Room) in which devices may be controlled.




      Step 8 Select a ZigBee network channel and create a network
               This step is needed only the first time the demonstration is used.
               In the IoT Gateway interface, go to the Control page by clicking the Control button
               (left-most button across the top). On the Control page, do the following in the ZigBee
               Network area:
               a) Set the radio channel to be used in the ZigBee network to channel 14 by clicking
                  (ticking) the box labelled “14”.
               b) Create the ZigBee network (initially containing only the Co-ordinator) by clicking
                  the Create Network button.




               The ZigBee network will be created on channel 14. A successful network start will be
               indicated by the illumination of the green and orange LEDs on the JN5169 USB
               Dongle.
               You can now assemble the network nodes as described in Section 2.3 and add them
               to the network using NFC commissioning as described in Section 2.4.




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        2.3 Assembling the Nodes
             This section describes how to assemble the Dimmer Switch and Dimmable Light
             nodes to be used in the demonstration. Each node comprises the following
             components:
                 DR1174 Carrier Board fitted with JN5169 module
                 Expansion Board - this depends on the node, as follows:
                       Dimmer Switch - DR1199 Generic Expansion Board
                       Dimmable Light - DR1175 Lighting/Sensor Expansion Board
                 NTAG I2C plus (NFC) Antenna Board
                 OM15044 adaptor for NFC antenna board
             The antenna boards carry red and green stickers to indicate which expansion boards
             they should be used with - red for Generic, green for Lighting/Sensor.
             Once assembled as described in this section, a node will look as shown in Figure 12.




                                  Figure 12: Assembled Node


                               Note: In this demonstration, it is assumed that the
                               nodes will be powered by batteries. However, you can
                               alternatively power the nodes from an external device
                               via the USB Mini B connector or from the 12V DC PSU
                               provided in the evaluation kit (see Appendix A.1.1). It is
                               possible to power more than one node from the PSU by
                               daisy-chaining the nodes using the supplied cable.


             The assembly procedure is provided below - this applies to both nodes.



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      Step 1 Ensure that the power selector is set for batteries (if required)
               The Carrier Boards are factory-configured to use batteries as their power source.
               However, if this is not the first time the kit has been used and you intend to use the
               batteries, check that batteries are selected as the power source for the Carrier Board,
               with the jumper J4 in the BAT position (as described in Appendix A.1.1). If an
               expansion board is already fitted to the Carrier Board, it will be necessary to remove
               the expansion board in order to check this jumper.
      Step 2 Fit an expansion board to the Carrier Board (if necessary)
               The Carrier Boards are factory-fitted with expansion boards. However, if there is no
               expansion board fitted then connect one to the Carrier Board via the on-board
               connectors CN1-CN5 (see Figure 15 on page 49):
                      DR1199 Generic Expansion Board for the Dimmer Switch node
                      DR1175 Lighting/Sensor Expansion Board for the Dimmable Light node
      Step 3 Connect the NFC antenna board to its adaptor
               Connect the NTAG I2C plus Antenna Board to the OM15044 adaptor via the 6-way
               connector.
      Step 4 Connect the NFC antenna/adaptor to the Carrier Board and configure them
               Connect the NFC antenna/adaptor combination to the Carrier Board via the 40-way
               connector, using the appropriate NFC antenna board for the expansion board fitted to
               the Carrier Board:
                      Generic Expansion Board: Use NFC antenna board with red sticker
                      Lighting/Sensor Expansion Board: Use NFC antenna board with green sticker
      Step 5 Configure the adaptor board for use with the relevant expansion board
               Position the jumper J16 on the OM15044 adaptor according to the expansion board:
                      Generic Expansion Board: J16 in position DIO/Switch
                      Lighting/Sensor Expansion Board: J16 in position DIO17/Lighting




                              Figure 13: J16 Jumper on OM15044 Adaptor

               The node assembly is now complete but do not apply power to the nodes yet. You can
               add the nodes to the network using NFC commissioning, as described in Section 2.4.



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        2.4 Commissioning the Nodes
             This section describes how to complete the set-up of the ZigBee Smart Home
             Demonstration by adding nodes to the ZigBee network by means of NFC
             commissioning.


                               Note: This section assumes that you have set up the
                               IoT Gateway as detailed in Section 2.2.



             You will add two nodes to the network already established by the Co-ordinator
             (JN5169 USB Dongle):
                 Dimmable Light
                 Dimmer Switch
             These nodes should have already been assembled from components of the kit, as
             instructed in Section 2.3.
             The NFC commissioning of each node into the ZigBee network is identical. It is
             performed by simply holding the NFC antenna of the node above the NFC antenna of
             the NFC Controller (mounted on the Raspberry Pi board) while the Raspberry Pi is in
             commissioning mode - this action is known as an ‘NFC tap’ and is shown in Figure 14.
             An audible signal is sounded if the NFC communication between the two devices was
             successful, after which the node will join the ZigBee network.




                                        Figure 14: NFC Tap

             The commissioning procedure is described below.



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                                  Note: If a node has previously been used, it will retain
                                  settings (e.g. PAN ID) from the previous network to
                                  which it belonged. To clear this information and return to
                                  the factory settings, perform a factory reset as follows:
                                  hold down the button 'DIO8' and then press the switch
                                  'RST', both on the underlying Carrier Board.


      Step 1 Ensure that the WPAN is open for joining
               Before continuing with this procedure, make sure that the Co-ordinator has created a
               WPAN that is open for joining, indicated by illuminated green and orange LEDs on the
               JN5169 USB Dongle.
               If the above LEDs are not illuminated, perform a reset by clicking the Normal Reset
               button on the Control page of the IoT Gateway interface in the web browser.
      Step 2 Ensure that the Raspberry Pi is in commissioning mode
               On the Control page of the IoT Gateway interface in the web browser, ensure that the
               NFC mode is set to Commission Device (which should be highlighted in green).
      Step 3 Power-up the Dimmer Switch node
               Assuming the batteries have been selected as the power source for the Carrier Board
               of the Dimmer Switch node (see Section 2.3), insert four of the supplied AAA batteries
               onto the rear of the Carrier Board (the required polarities are indicated on the board).


                                  Note: You can alternatively power the board from an
                                  external device via the USB Mini B connector or from
                                  the 12V DC PSU provided in the evaluation kit (see
                                  Appendix A.1.1).


      Step 4 Commission the Dimmer Switch node into the network
               Move the NFC antenna of the Dimmer Switch node over the NFC antenna of the NFC
               Controller Board, as shown in Figure 14. If data is successfully exchanged in this NFC
               tap, the Raspberry Pi board will sound a long beep.
               An unsuccessful NFC tap will be indicated by four short beeps. In this case, click the
               Decommission Device button on the Control page of the IoT Gateway interface and
               repeat the NFC tap (successful decommissioning is indicated by two beeps), then
               click the Commission Device button and repeat this step.
               While the Dimmer Switch node is not in a ZigBee network, the LEDs D1 and D2 flash
               alternately. Once the node has joined the network, both LEDs D1 and D2 switch off.
               During NFC commissioning, all network-related information and a join command are
               transferred from the IoT Gateway to the joining node. Therefore, after NFC
               commissioning, the node automatically joins the ZigBee network.




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        Step 5 Power-up the Dimmable Light node
               Assuming the batteries have been selected as the power source for the Carrier Board
               of the Dimmable Light node (see Section 2.3), insert four of the supplied AAA batteries
               onto the rear of the Carrier Board (the required polarities are indicated on the board).


                                  Note: You can alternatively power the board from an
                                  external device via the USB Mini B connector or from
                                  the 12V DC PSU provided in the evaluation kit (see
                                  Appendix A.1.1).


        Step 6 Commission the Dimmable Light node into the network
               Move the NFC antenna of the Dimmable Light node over the NFC antenna of the NFC
               Controller Board, as shown in Figure 14. If data is successfully exchanged in this NFC
               tap, the Raspberry Pi board will sound a long beep.
               An unsuccessful NFC tap will be indicated by four short beeps. In this case, click the
               Decommission Device button on the Control page of the IoT Gateway interface and
               repeat the NFC tap (successful decommissioning is indicated by two beeps), then
               click the Commission Device button and repeat this step.
               The Dimmable Light node will now automatically join the network and the three white
               LEDs on the node’s Lighting/Sensor Expansion Board will flash once.
        Step 7 Check that the Dimmable Light has appeared in the web browser on the PC
               In the web browser on the PC, go to the “Mobile Site” page by clicking the Mobile Site
               button (right-most button across the top) and check that the Dimmable Light appears
               on the page - the light will be identified by its IEEE/MAC address.




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      Step 8 Bind the Dimmer Switch to the Dimmable Light
               It is now possible to bind the Dimmer Switch to the Dimmable Light (so that they will
               operate together).
               To bind the Dimmer Switch to the Dimmable Light:
               a) Press and hold down the Commissioning button (DIO8) on the Carrier Board of
                  the Dimmer Switch node - the white LEDs on the Lighting/Sensor Expansion
                  Board of the Dimmable Light node will start to flash.
               b) Release the button DIO8 when the white LEDs stop flashing and stay illuminated.
               c) Press the button SW1 on the Generic Expansion Board of the Dimmer Switch
                  node.
               The Dimmer Switch and Dimmable Light nodes are now bound. The Dimmer Switch
               is in Control mode and can be used to control the Dimmable Light, as described in
               Section 2.5.


                                 Note: If you wish to unbind the two nodes, you can do
                                 this from the Carrier Board of the Dimmer Switch node,
                                 as follows: press and hold down the RST button, then
                                 press and hold down the DIO8 button, then release the
                                 RST button and finally release the DIO8 button.




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   Using the Smart Home Demonstration


        2.5 Controlling the Light
             Once you have set up the ZigBee Smart Home Demonstration, as described in
             Section 2.2 and Section 2.4, you can control the Dimmable Light from inside and/or
             outside the ZigBee WPAN:
                 Control from the Dimmer Switch within the WPAN is described in Section 2.5.1
                 Control from a PC outside the WPAN is described in Section 2.5.2


                               Caution: The LEDs on the Lighting/Sensor Expansion
                               Boards are very bright at maximum intensity. To avoid
                               damage to your eyes, do not look into them directly for
                               an extended period of time.



        2.5.1 Controlling the Dimmable Light from the Dimmer Switch
             The Dimmer Switch node can be used to control the Dimmable Light node:
                 The controlled lights are the three white LEDs (D1-D3) on the Lighting/Sensor
                  Expansion Board.
                 The four buttons SW1-SW4 on the Generic Expansion Board are used to
                  control the lights, as follows:

                           Button   Action

                           SW1      Switch on lights

                           SW2      Switch off lights

                           SW3      Increase brightness of lights

                           SW4      Decrease brightness of lights

                           Table 2: Button Usage on Dimmer Switch




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         2.5.2 Controlling the Dimmable Light from the PC
               The Dimmable Light within the ZigBee network can be controlled from the web
               browser on the PC, as follows:
      Step 1 Access the Dimmable Light in the web browser on the PC
               Ensure that the “Mobile Site” page is displayed in the web browser on the PC and click
               on the lamp icon that represents the Dimmable Light. The following controls for the
               light will now be displayed:




      Step 2 Control the light from the PC
               The Dimmable Light can be controlled from the PC using the controls shown above,
               as follows:
                      Toggle the light on and off by clicking on button.
                      Vary the brightness of the light by either of the following methods:
                            Enter a brightness level as a decimal fraction in the range 0 to 1.0 into the
                             numerical field.
                            Click on and move the widget on the greyscale background to the desired
                             brightness level.




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   3. Where Next?
               Once you have set up and run the pre-loaded ZigBee Smart Home Demonstration,
               you may wish to start developing your own wireless network applications to run on the
               components of the JN516x-EK004 evaluation kit. This chapter helps you to get started
               in this application development, as follows:
                      Section 3.1 provides information on the wireless network protocols supported
                       for JN516x application development on the evaluation kit components.
                      Section 3.2 outlines the NXP Software Developer’s Kits (SDKs) that are
                       available to support application development using the different protocols.
                      Section 3.3 directs you to the user documentation for each protocol.


         3.1 Which Protocol?
               The JN516x-EK004 evaluation kit supports a number of wireless network protocols
               that can be used to develop applications for the JN516x wireless microcontroller.
               The supported protocols for this evaluation kit are as follows:
                      IEEE 802.15.4: This is an industry-standard protocol which provides the low-
                       level functionality for implementing wireless network communications. The
                       other supported protocols are built on top of IEEE 802.15.4, but an application
                       can also be designed to interface directly with the IEEE 802.15.4 stack layers
                       and an API is provided to facilitate this interaction. Developing an application
                       directly on top of IEEE 802.15.4 requires lower level programming than using
                       one of the other supported protocols.
                      ZigBee PRO: This is an industry-standard protocol which provides a Network
                       stack layer (over IEEE 802.15.4) that supports Mesh networking. APIs are
                       provided to facilitate the interaction between the application and the ZigBee
                       PRO stack. These APIs must be used in conjunction with the APIs of JenOS
                       (Jennic Operating System).
                        The following ZigBee ‘application profiles’ are supported for use with ZigBee
                        PRO on the evaluation kit components:
                            ZigBee Light Link (ZLL): This profile is concerned with the control of the
                             lighting in a building.
                            Home Automation (HA): This profile is concerned with the control of a
                             range of technology in the home, including lighting and security.
                        Profile-specific APIs are provided for both of the above profiles to aid application
                        coding.
                      ZigBee 3.0: This is the latest edition of the ZigBee protocol which uses the
                       ZigBee PRO stack, described above, and promotes inter-operability between
                       networks from different market sectors. The NXP ZigBee 3.0 software supports
                       the ZigBee Lighting & Occupancy (ZLO) devices, where ZLO replaces the ZLL
                       and HA profiles.
               A full range of support resources, including example applications, are available for
               using the above protocols with the JN516x-EK004 evaluation kit (see Section 3.3).


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        3.2 Software Developer’s Kit (SDK)
             NXP provide Software Developer’s Kits (SDKs) to facilitate the development of
             JN516x wireless network applications on a PC. These SDKs include Application
             Programming Interfaces (APIs) and have associated development tools. You will need
             two installers - a toolchain installer and the SDK installer for your wireless network
             protocol.
             The required toolchain installer has the part number JN-SW-4141. This is based on
             the ‘BeyondStudio for NXP’ Integrated Development Environment (IDE) and is for use
             with SDK installers with part numbers of the form JN-SW-41xx.
             The SDK installers for the protocols/profiles supported by the kit are as follows:
                  JN516x IEEE 802.15.4 SDK (JN-SW-4163)
                  JN516x ZigBee Light Link and Home Automation SDK (JN-SW-4168)
                  JN516x ZigBee 3.0 SDK (JN-SW-4170)


                                Note: The software required to develop applications
                                directly on the IEEE 802.15.4 stack layers is also
                                included in the ZigBee SDK installers.


             The above installers can be requested free-of-charge via the NXP web site (see
             “Support Resources” on page 7). Toolchain and SDK installation instructions are
             provided in the Beyond Studio for NXP Installation and User Guide (JN-UG-3098).
             The contents of the installers are outlined in the sub-sections below.


        3.2.1 ‘BeyondStudio for NXP’ Toolchain (JN-SW-4141)
             The ‘BeyondStudio for NXP’ toolchain is tailored for application development for the
             JN516x devices and must be installed first, before the SDK. It is based on the
             ‘BeyondStudio for NXP’ IDE, which is Eclipse-based. The installer includes:
                  ‘Beyond Studio for NXP’ IDE
                  Integrated JN51xx compiler
                  Integrated JN516x Flash Programmer
                  MinGW CLI (Command Line Interface)
             For full details of this toolchain, refer to the BeyondStudio for NXP Installation and
             User Guide (JN-UG-3098).


                                Note: Application development for the JN516x device is
                                intended to be conducted in the ‘BeyondStudio for NXP’
                                IDE supplied in the toolchain. It is, however, possible to
                                develop your application code using another editor and
                                to build it from the command line using makefiles.



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         3.2.2 IEEE 802.15.4 SDK (JN-SW-4163)
               The IEEE 802.15.4 SDK includes the IEEE 802.15.4 stack software and the following
               components:
                      802.15.4 Stack APIs for developing wireless network applications
                      Application Queue APIs for optional use in conjunction with the above API
                      JN516x Integrated Peripherals APIs for interacting with on-chip peripherals
                      LPRF Board APIs for interacting with evaluation kit board resources


         3.2.3 ZigBee Home Automation SDK (JN-SW-4168)
               The ZigBee Home Automation SDK includes the ZigBee PRO stack software, the
               Home Automation (HA) profile and the following components:
                      ZigBee PRO APIs for developing wireless network applications
                      Home Automation APIs for incorporating HA functionality in applications
                      ZigBee Cluster Library (ZCL) and associated APIs
                      JenOS APIs for interacting with the RTOS and system management modules
                      802.15.4 Stack APIs
                      JN516x Integrated Peripherals APIs for interacting with on-chip peripherals
                      LPRF Board APIs for interacting with evaluation kit board resources
                      ZPS and JenOS Configuration Editors (NXP plug-ins for Eclipse/BeyondStudio)
               The ZigBee Home Automation SDK is supplied in the same installer as the ZigBee
               Light Link SDK (JN-SW-4168).


         3.2.4 ZigBee Light Link SDK (JN-SW-4168)
               The ZigBee Light Link SDK includes the ZigBee PRO stack software, the ZigBee Light
               Link (ZLL) profile and the following components:
                      ZigBee PRO APIs for developing wireless network applications
                      ZigBee Light Link APIs for incorporating ZLL functionality in applications
                      ZigBee Cluster Library (ZCL) and associated APIs
                      JenOS APIs for interacting with the RTOS and system management modules
                      802.15.4 Stack APIs
                      JN516x Integrated Peripherals APIs for interacting with on-chip peripherals
                      LPRF Board APIs for interacting with evaluation kit board resources
                      ZPS and JenOS Configuration Editors (NXP plug-ins for Eclipse/BeyondStudio)
               The ZigBee Light Link SDK is supplied in the same installer as the ZigBee Home
               Automation SDK (JN-SW-4168).



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        3.2.5 ZigBee 3.0 SDK (JN-SW-4170)
             The ZigBee 3.0 SDK includes the ZigBee PRO stack software and the following
             components:
                  ZigBee PRO APIs for developing wireless network applications
                  ZigBee Base Device and associated APIs for fundamental operations such as
                   commissioning
                  ZigBee Lighting & Occupancy (ZLO) device types and associated APIs
                  ZigBee Cluster Library (ZCL) and associated APIs
                  JN51xx Core Utilities (JCU) and associated APIs for system management
                  802.15.4 Stack APIs
                  JN516x Integrated Peripherals APIs for interacting with on-chip peripherals
                  LPRF Board APIs for interacting with evaluation kit board resources
                  ZPS Configuration Editor (NXP plug-in for Eclipse/BeyondStudio)




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         3.3 Support Resources
                 Support resources, including user documentation and example application software,
                 are provided for each wireless network protocol supported by the evaluation kit. These
                 resources are available from the NXP web site (see “Support Resources” on page 7).
                 The main resources for each protocol are detailed in the following sub-sections:
                      IEEE 802.14.5 in Section 3.3.1
                      ZigBee PRO/Home Automation in Section 3.3.2
                      ZigBee PRO/ZigBee Light Link in Section 3.3.3
                      ZigBee 3.0 in Section 3.3.4


         3.3.1 IEEE 802.15.4 Documentation
                 A complete list of the user documentation relevant to IEEE 802.15.4 is provided in
                 Table 3 below.
                     1. First study Part I of the IEEE 802.15.4 Stack User Guide (JN-UG-3024) to
                        familiarise yourself with essential IEEE 802.15.4 concepts.
                     2. During application development, you should refer to the above User Guide for
                        details of the API resources to use.
                 In addition, the Application Note IEEE 802.15.4 Application Template (JN-AN-1174)
                 provides a skeleton application as a starting point for your own application coding.

    Part Number      Document Title                          Description

    Application Coding

    JN-UG-3024       IEEE 802.15.4 Stack User Guide          Introduces IEEE 802.15.4 and details the software
                                                             resources for developing wireless network applications
                                                             that run directly on the IEEE 802.15.4 stack layers.

    JN-AN-1174       IEEE 802.15.4 Application Template      Application Note containing a template from which to
                                                             start 802.15.4 application coding.

    JN-UG-3087       JN516x Integrated Peripherals API       Details the JN516x Integrated Peripherals API, used in
                     User Guide                              application code to interact with on-chip peripherals.

    JN-RM-2003       LPRF Board API Reference Manual         Details the Board API, used in application code to inter-
                                                             act with components on boards supplied in the evalua-
                                                             tion kit.

    Development Tools

    JN-UG-3098       BeyondStudio for NXP Installation and   Describes how to install the toolchain and SDK, and
                     User Guide                              how to use the BeyondStudio development platform.

                                 Table 3: IEEE 802.15.4 Support Resources




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        3.3.2 ZigBee PRO/Home Automation Documentation
                 A complete list of the user documentation relevant to ZigBee PRO with the Home
                 Automation (HA) profile is provided in Table 4 below.
                    1. First study Part I of each of the following User Guides in order to familiarise
                       yourself with the relevant concepts:
                            ZigBee PRO Stack User Guide (JN-UG-3101)
                            ZigBee Home Automation User Guide (JN-UG-3076)
                            JenOS User Guide (JN-UG-3075)
                    2. During application development, you should refer to the above three User
                       Guides for details of the API resources to use, as well as to the ZigBee Cluster
                       Library User Guide (JN-UG-3103).
                 In addition, during application development you should refer to the Application Note
                 ZigBee HA Lighting with NFC (JN-AN-1221) for an example of an HA application.

    Part Number     Document Title                    Description

    Application Coding

    JN-UG-3101      ZigBee PRO Stack User Guide       Introduces essential ZigBee PRO concepts and details the
                                                      ZigBee PRO APIs for developing applications.

    JN-UG-3075      JenOS User Guide                  Details the JenOS APIs used in ZigBee PRO application code
                                                      to manage OS resources.

    JN-UG-3076      ZigBee Home Automation User       Introduces ZigBee Home Automation (HA) and details the HA
                    Guide                             API for developing applications.

    JN-UG-3103      ZigBee Cluster Library User       Describes the NXP implementation of the
                    Guide                             ZigBee Cluster Library (ZCL).

    JN-AN-1221      ZigBee HA Lighting with NFC *     Application Note which provides an example ZigBee Home
                                                      Automation application that includes NFC commissioning of
                                                      the network.

    JN-AN-1222      ZigBee IoT Gateway Host with      Application Note which provides information and software for
                    NFC                               developing the IP host side of an IoT Gateway.

    JN-AN-1223      ZigBee IoT Gateway Control        Application Note which provides information and software for
                    Bridge                            developing the ZigBee Control Bridge side of an IoT Gateway.

    JN-UG-3087      JN516x Integrated Peripherals     Details the JN516x Integrated Peripherals API, used in appli-
                    API User Guide                    cation code to interact with on-chip peripherals.

    JN-RM-2003      LPRF Board API Reference          Details the functions and associated resources used to inter-
                    Manual                            act with components on boards supplied in the evaluation kit.

    Development Tools

    JN-UG-3098      BeyondStudio for NXP Installa-    Describes how to install the toolchain and SDK, and how to
                    tion and User Guide               use the BeyondStudio development platform.

                               Table 4: ZigBee PRO/HA Support Resources

                 * For a broader range of features, including OTA Upgrade, Green Power and more HA devices,
                  refer to the Application Note ZigBee Home Automation Demonstration (JN-AN-1189).



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         3.3.3 ZigBee PRO/ZigBee Light Link Documentation
                 A complete list of the user documentation relevant to ZigBee PRO with the ZigBee
                 Light Link (ZLL) profile is provided in Table 5 below.
                     1. First study Part I of each of the following User Guides in order to familiarise
                        yourself with the relevant concepts:
                            ZigBee PRO Stack User Guide (JN-UG-3101)
                            ZigBee Light Link User Guide (JN-UG-3091)
                            JenOS User Guide (JN-UG-3075)
                     2. During application development, you should refer to the above three User
                        Guides for details of the API resources to use, as well as to the ZigBee Cluster
                        Library User Guide (JN-UG-3103).

    Part Number      Document Title                   Description

    Application Coding

    JN-UG-3101       ZigBee PRO Stack User Guide      Introduces essential ZigBee PRO concepts and details the
                                                      ZigBee PRO APIs for developing applications.

    JN-UG-3075       JenOS User Guide                 Details the JenOS APIs used in ZigBee PRO application code
                                                      to manage OS resources.

    JN-UG-3091       ZigBee Light Link User Guide     Introduces ZigBee Light Link (ZLL) and details the ZLL API for
                                                      developing applications.

    JN-UG-3103       ZigBee Cluster Library User      Describes the NXP implementation of the
                     Guide                            ZigBee Cluster Library (ZCL).

    JN-AN-1222       ZigBee IoT Gateway Host with     Application Note which provides information and software for
                     NFC                              developing the IP host side of an IoT Gateway.

    JN-AN-1223       ZigBee IoT Gateway Control       Application Note which provides information and software for
                     Bridge                           developing the ZigBee Control Bridge side of an IoT Gateway.

    JN-UG-3087       JN516x Integrated Peripherals    Details the JN516x Integrated Peripherals API, used in appli-
                     API User Guide                   cation code to interact with on-chip peripherals.

    JN-RM-2003       LPRF Board API Reference         Details the functions and associated resources used to inter-
                     Manual                           act with components on boards supplied in the evaluation kit.

    Development Tools

    JN-UG-3098       BeyondStudio for NXP Installa-   Describes how to install the toolchain and SDK, and how to
                     tion and User Guide              use the BeyondStudio development platform.

                               Table 5: ZigBee PRO/ZLL Support Resources




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        3.3.4 ZigBee 3.0 Documentation
                 A complete list of the user documentation relevant to ZigBee 3.0 is provided in Table 4
                 below.
                   1. First study Part I of the ZigBee 3.0 Stack User Guide (JN-UG-3113) in order to
                      familiarise yourself with the relevant concepts.
                   2. During application development, you should refer to:
                            ZigBee 3.0 Stack User Guide (JN-UG-3113)
                            ZigBee Devices User Guide (JN-UG-3114)
                            ZigBee Cluster Library User Guide (JN-UG-3115)
                         Depending on your application, you may also wish to refer to one or more of
                         the following Application Notes that provide example code which may be used
                         as a starting point or template:
                            ZigBee 3.0 Base Device (JN-AN-1217)
                            ZigBee 3.0 Light Bulbs (JN-AN-1218)
                            ZigBee 3.0 Controller and Switch (JN-AN-1219)
                            ZigBee 3.0 Sensors (JN-AN-1220)
                            ZigBee 3.0 Control Bridge (JN-AN-1216)

    Part Number     Document Title                      Description

    Application Coding

    JN-UG-3113      ZigBee 3.0 Stack User Guide         Introduces essential ZigBee PRO concepts and details the
                                                        APIs for developing ZigBee 3.0 applications.

    JN-UG-3114      ZigBee Devices User Guide           Details the ZigBee Base Device and the ZigBee Lighting &
                                                        Occupancy (ZLO) device types.

    JN-UG-3115      ZigBee Cluster Library User         Describes the NXP implementation of the ZigBee Cluster
                    Guide                               Library (ZCL) for ZigBee 3.0.

    JN-UG-3119      ZigBee Green Power User Guide       Describes the use of ZigBee Green Power (GP) on the
                                                        JN516x microcontrollers.

    JN-UG-3116      JN51xx Core Utilities User Guide    Details software utilities that may be incorporated in ZigBee
                                                        3.0 applications.

    JN-AN-1216      ZigBee 3.0 Control Bridge           Provides an example application for a ZigBee Control Bridge
                                                        to facilitate an IP connection.

    JN-AN-1217      ZigBee 3.0 Base Device              Provides example ZigBee Base Device code, required in all
                                                        ZigBee 3.0 applications.

    JN-AN-1218      ZigBee 3.0 Light Bulbs              Provides example applications for ZigBee lighting devices.

    JN-AN-1219      ZigBee 3.0 Controller and Switch    Provides example applications for ZigBee controller and
                                                        switch devices.

    JN-AN-1220      ZigBee 3.0 Sensors                  Provides example applications for ZigBee sensor devices.

                                  Table 6: ZigBee 3.0 Support Resources



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    Part Number      Document Title                   Description

    JN-UG-3087       JN516x Integrated Peripherals    Details the JN516x Integrated Peripherals API, used in appli-
                     API User Guide                   cation code to interact with on-chip peripherals.

    JN-RM-2003       LPRF Board API Reference         Details the functions and associated resources used to inter-
                     Manual                           act with components on boards supplied in the evaluation kit.

    Development Tools

    JN-UG-3098       BeyondStudio for NXP Installa-   Describes how to install the toolchain and SDK, and how to
                     tion and User Guide              use the BeyondStudio development platform.

                                   Table 6: ZigBee 3.0 Support Resources




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   Appendices

         A. Kit Hardware
               This appendix details the hardware devices supplied in the JN516x-EK004 evaluation
               kit (see Section 1.1 for full kit contents):
                      Carrier Boards - see Appendix A.1
                      Lighting/Sensor Expansion Boards - see Appendix A.2
                      Generic Expansion Boards - see Appendix A.3
                      JTAG Expansion Board - see Appendix A.4
                      JN5169 Modules - see Appendix A.5
                      JN5169 USB Dongles - see Appendix A.6
                      Raspberry Pi Board (for IoT Gateway) - see Appendix A.7
                      NFC Controller - see Appendix A.8
                      NTAG I2C plus Antenna Boards - see Appendix A.9




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        A.1 Carrier Boards
                The two carrier boards (part number: DR1174) supplied in the evaluation kit are
                physically identical. They are both pre-fitted with an Arduino-compatible expansion
                board and a JN5169-based module with integrated antenna (see Section 1.1).
                Each Carrier Board has the following features (also refer to Figure 15 and Figure 16):
                   JN51xx module site
                   Arduino-compatible header (in four parts)
                   10-way JTAG debug header
                   40-way header for NTAG I 2C plus Antenna Board (see Appendix A.9)
                   Analogue interface header for access to JN51xx DACs and comparators
                   USB Mini B port for JN51xx module programming or UART connection
                   FTDI FT232 driver chip for USB port
                   On-board 4-Mbit Flash memory device (connected to SPISSZ line of module)
                   On-board 32-kHz crystal oscillator (connected across DIO9 and DIO10 of
                    module but not routed to Arduino-compatible header)
                   2 apertures for push-through antennas
                   Reset button (RST)
                   User-input button (labelled DIO8 and connected to DIO8 of JN51xx module)
                   4 green ultra low-power LEDs for Power (LD1), UART Tx (D1), UART Rx (D2)
                    and SPI clock (LD4)
                   2 green LEDs for debug purposes (D3 connected to DIO6 and D6 connected to
                    DIO3 of JN51xx module)
                   Jumpers for board configuration (J4, Low PWR, JTAG, SPI, Mod PWR)
                   Powered from one of the following (see Appendix A.1.1):
                          4 AAA batteries on the board
                          2 AAA batteries (low-power mode) on the board
                          External 7-12V DC supply
                          External device via USB port




                                  Note: The NTAG I2C plus Antenna Board connects to
                                  the 40-way header of the Carrier Board via the supplied
                                  adaptor (OM15044) for the purpose of NFC
                                  commissioning - see Appendix A.9.




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                             Figure 15: Carrier Board Layout




                     Figure 16: Carrier Board (with a JN516x Module)


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                Note the following:
                   The expansion board is an Arduino-compatible shield attached to the Arduino-
                    compatible header.
                   The JN5169-based module which is pre-fitted to the module site has been pre-
                    loaded with the ZigBee Smart Home Demonstration.
                   The Carrier Boards are supplied with the correct hardware configurations for
                    the pre-loaded ZigBee Smart Home Demonstration. Once you have run this
                    demonstration, you can re-configure the Carrier Boards as you wish - for
                    example, by replacing the fitted module with another JN516x module and/or
                    replacing the expansion board with a different expansion board.
                   The antenna aperture can accommodate a push-through external antenna (not
                    supplied).
                   If the board is powered using the 12V DC PSU provided in the evaluation kit, it
                    is possible to power two or more boards from this one power supply by daisy-
                    chaining them together using the supplied cable.
                   The 12V DC PSU for the Carrier Boards accepts universal input voltages (100-
                    240V, AC 50/60Hz) but is fitted with a European plug. It can be used outside
                    Europe by plugging it into the universal AC outlet socket of the 5V DC PSU.
                   In low-power mode, which uses just 2 AAA batteries, only the JN516x module
                    is powered (this mode can be used to make low-current measurements).
                   The board is supplied with the J4 jumper configured for batteries as the power
                    source (see table below).
                   The board is supplied with access to the on-board Flash memory device
                    enabled through the SPI jumper (see table below).
                   The main jumpers and their default positions (as supplied) are as follows:

                        Jumper        Use                                      Default Setting

                           J4         Selects power source - batteries (BAT)   BAT (batteries)
                                      or external DC/USB (REG)

                       Low PWR        Enables (BAT) or disables (REG)          REG (normal-power mode)
                                      low-power mode

                         JTAG         Enables (EN) or disables (DIS) map-      DIS (UART0 mapped to USB port)
                                      ping from UART0 to JTAG header (J6)

                          SPI         Enables (SSZ) or Disables (DIO0) SPI     SSZ (on-board Flash accessible)
                                      access to on-board Flash memory

                       Mod PWR        Enables (ON) or disables (OFF) power     ON (power to JN516x module)
                                      to JN516x module


                   To return to the factory settings (including for the fitted JN516x module), wait at
                    least 2 seconds following power-up, then press the Reset (RST) button on the
                    Carrier Board 4 times with less than 2 seconds between consecutive presses.
                   For the NFC commissioning of the wireless node into a network, the supplied
                    NTAG I2C plus Antenna Board can be connected to the 40-way header on the
                    Carrier Board via the supplied adaptor to provide an NFC tag, which can be
                    used with the supplied PN7120 NFC Controller (see Appendix A.8).


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         A.1.1 Power Source Selection
               The Carrier Board can be used in normal-power mode or low-power mode, selected
               using the J4 and Low PWR jumpers. For the locations of these jumpers, refer to
               Figure 17.


                                Note: The Low PWR jumper is hidden under the
                                expansion board, which must be removed in order to
                                change the jumper setting - there are two jumper
                                positions, BAT and REG.



                                Tip: If batteries are being used and the board is going to
                                be left in the idle state for a significant length of time, the
                                batteries should be removed in order to conserve their
                                power.




              Figure 17: Locations of Power Selection Jumpers (J4 and Low PWR)




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        Normal-Power Mode
                In normal-power mode, the board can be powered from one of the following:
                   4 AAA batteries, connected on the underside of the board
                   External 7-12V DC supply via 2.1-mm connector
                   External device via USB Mini B connector
                The voltage regulator must be selected for the external DC and USB power supplies
                by putting the jumper J4 into the REG position, as illustrated in Figure 18 - the
                regulator is not needed for battery power.
                               REG




                                                   BAT
                          J4                             DC or USB (regulator used)
                               REG




                                                   BAT
                          J4                             Batteries (regulator not used)


                          Figure 18: Regulator Selection (using J4 Jumper)

                For all sources in normal-power mode, the Low PWR jumper must be put in the REG
                position (see Low-Power Mode below).


                                     Caution: When using an external DC Power Supply
                                     Unit (PSU) with a Carrier Board, only a 7-12V PSU with
                                     a 2.1-mm connector must be used. The 12V PSU
                                     provided in the evaluation kit can be used for a Carrier
                                     Board.



                                     Note: The Carrier Boards can be powered from the
                                     same 12V DC PSU by using the supplied 5-way daisy-
                                     chain power cable to link them together. The Raspberry
                                     Pi board must be powered from the dedicated 5V DC
                                     PSU.


        Low-Power Mode
                In low-power mode, the board is powered from 2 AAA batteries connected in the lower
                two battery holders (nearest to the 40-way header) on the underside of the board. In
                this mode, only the JN516x module is powered (this mode can be used to make low-
                current measurements). To select low-power mode, the Low PWR jumper must be put
                in the BAT position, as illustrated in Figure 19. The jumper J4 (used in normal-power
                mode) has no effect in low-power mode and can be left in any position.




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                                            PWR




                                                         PWR
                                            Low




                                                         Low
                                              BAT




                                                           BAT
                                              REG




                                                           REG
                                         Normal-power   Low-power
                                            mode          mode


                Figure 19: Lower-Power Mode Selection (using Low PWR Jumper)


         A.1.2 Pre-assembled Boards
               As indicated above, each Carrier Board is supplied pre-fitted with a JN5169 module
               with integrated antenna and an expansion board.
               Figure 20 below shows a pre-assembled board fitted with a Generic Expansion Board
               (DR1199).




           Figure 20: Carrier Board Fitted with Module and DR1199 Expansion Board


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                Figure 21 below shows a pre-assembled board fitted with a Lighting/Sensor
                Expansion Board (DR1175).




          Figure 21: Carrier Board Fitted with Module and DR1175 Expansion Board

                The expansion boards are described in Appendix A.2, Appendix A.3 and Appendix
                A.4. The JN5169 modules are described in Appendix A.5.


                                  Tip 1: The pre-assembled board shown in Figure 20 is
                                  also available to purchase separately as the
                                  JN5169XK010 ZigBee Generic Node Expansion Kit.
                                  See “Optional Components” on page 7.
                                  Tip 2: The pre-assembled board shown in Figure 21 is
                                  also available to purchase separately as the
                                  JN5169XK020 ZigBee Lighting/Sensor Node Expansion
                                  Kit. See “Optional Components” on page 7.




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         A.2 Lighting/Sensor Expansion Boards
               The Lighting/Sensor Expansion Board (part number: DR1175) is an Arduino-
               compatible shield that is supplied pre-fitted to the Arduino-compatible header of one
               of the Carrier Boards in the evaluation kit (see Appendix A.1).


                                     Note: For full details of the board, refer to the Carrier
                                     Board and Expansion Boards Reference Design
                                     (JN-RD-6036), available from the NXP web site (see
                                     “Support Resources” on page 7).


               The Lighting/Sensor Expansion Board has the following features (also see Figure 22):
                      Arduino-compatible expansion header (in four parts, CN1-CN4)
                      3 white dimmable LEDs:
                            Controlled in unison by Pulse Width Modulation (PWM)
                            Driven by the PWM output of JN516x Timer 1 on the module on the Carrier
                             Board, via DIO3 on the module (for details of the JN516x timers and DIOs,
                             refer to the datasheet for the relevant chip).
                      Colour LED module containing 3 miniature LEDs:
                            LEDs are independently controlled by PWM from an on-chip multi-channel
                             PMW controller, connected via the 2-wire Serial Interface (see below)
                            Connected to the 2-wire Serial Interface (I2C) of the JN516x module on the
                             Carrier Board, via DIO14 (clock) and DIO15 (data) on the module
                      Humidity/temperature sensor (of the type SHT1x) connected to the JN516x
                       module on the Carrier Board, via DIO12 (data) and DIO17 (clock) on the
                       module
                      Light sensor (of the type TSL2550), connected to the 2-wire Serial Interface
                       (I2C) of the JN516x module on the Carrier Board, via DIO14 (clock) and DIO15
                       (data) on the module
                      Reset button (to reset the Carrier Board)


                                     Caution: The LEDs on the Lighting/Sensor Expansion
                                     Board are very bright at maximum intensity. To avoid
                                     damage to your eyes, do not look into them directly for
                                     an extended period of time.



                                     Note: If NFC commissioning is to be used with the
                                     Lighting/Sensor Expansion Board, the J16 jumper on
                                     the OM15044 adaptor board must be located in the
                                     "DIO17/Lighting” position. For more information, refer to
                                     Appendix A.9.



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                                 CN2
                                                    Sensors                      CN1
                                  Prototype
                                    Area
                                                                      Temp/
                                                        Light        Humidity
                                                       Sensor         Sensor
                                                                U4
                                                                                U5

                                                    LED Lighting

                                                              Multi-Colour
                                                              LED Module
                                                                         D7
                                                                                CN6
                                                              White LEDs
                                                                              RESET




                                                                                       SW1
                                  DR1175            D1, D2, D3
                                              CN3                  CN4




                   Figure 22: Lighting/Sensor Expansion Board Layout




                      Figure 23: Lighting/Sensor Expansion Board




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         A.3 Generic Expansion Boards
               The Generic Expansion Board (part number: DR1199) is an Arduino-compatible shield
               that is supplied pre-fitted to the Arduino-compatible header of one of the Carrier
               Boards in the evaluation kit (see Appendix A.1).


                                    Note: For full details of the board, refer to the Carrier
                                    Board and Expansion Boards Reference Design
                                    (JN-RD-6036), available from the NXP web site (see
                                    “Support Resources” on page 7).


               The Generic Expansion Board has the following features (also see Figure 24):
                      Arduino-compatible expansion header (in four parts, CN1-CN4)
                      4 user-input buttons (SW1, SW2, SW3, SW4) connected to DIOs on the
                       JN516x module on the Carrier Board:
                           SW1 is connected to DIO1
                           SW2 is connected to DIO11
                           SW3 is connected to DIO12
                           SW4 is connected to DIO17
                      4 LEDs (D1, D2, D3, D4) connected to DIOs on the JN516x module on the
                       Carrier Board:
                           D1 is connected to DIO0
                           D2 is connected to DIO13 (same as for the PWM output used on the
                            Lighting/Sensor Expansion Board to drive the three white LEDs)
                           D3 is connected to DIO16
                           D4 is an optional LED which is not fitted on the supplied board and shares
                            DIO1 with button SW1
                      Potentiometer connected to JN516x ADC1, with a 0-1.8V DC voltage swing
                      USB Mini B port to provide access to JN516x UART1 via DIO14 and DIO15 of
                       JN516x module (or alternatively to UART0, depending on the internal
                       configuration of the device)
                      FTDI FT232 driver chip for USB port
               PCB pads for 4-way GPIO header (3V3, VCC, DIO14, DIO15), where DIO14 and
               DIO15 can be used to access JN516x UART1 (in this case, the FTDI driver chip for
               the USB port must be isolated by removing resistors R11 and R12)


                                    Note: If NFC commissioning is to be used with the
                                    Generic Expansion Board, the J16 jumper on the
                                    OM15044 adaptor board must be located in the
                                    "DIO/Switch” position. For more information, refer to
                                    Appendix A.9.



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                               CN1
                                                            R11                  CN2
                                               FTDI
                                               Chip                GPIO
                              USB
                              Port                          R12




                                                      D1     D2      D3         D4

                               Potentiometer




                                                  SW1        SW2    SW3         SW4

                                                      CN3                 CN4




                      Figure 24: Generic Expansion Board Layout




                         Figure 25: Generic Expansion Board




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         A.4 JTAG Expansion Board
               The JTAG Expansion Board (part number: DR1222) is an Arduino-compatible shield
               that is supplied in the evaluation kit. It can be fitted to the Arduino-compatible header
               and JTAG header of a Carrier Board.


                                    Note: For full details of the board, refer to the Carrier
                                    Board and Expansion Boards Reference Design
                                    (JN-RD-6036), available from the NXP web site (see
                                    “Support Resources” on page 7).


               The JTAG Expansion Board has the following features:
                      Arduino-compatible expansion header (in four parts, CN1-CN4)
                      10-way JTAG connector (J2) on side (for connection to external JTAG adaptor)
                      20-way JTAG connector (J1) on side (for connection to external JTAG adaptor)
                      10-way JTAG header on underside (for connection to Carrier Board)
                      Three jumpers (J3, J4, J5) for pin selection on the two external JTAG
                       connectors (J1 and J2)


                                                 CN2
                                                                                            CN1
                                                                           JTAG Expansion Board

                                                                                    DR1222




                                                                   J3 J4    J5


                                                                   Jumpers




                                                             CN3                 CN4


                                   JTAG Header
                                   from DR1174




                                                 JTAG Header J1            JTAG Header J2




                                Figure 26: JTAG Expansion Board Layout




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                                  Figure 27: JTAG Expansion Board

                Note the following:
                   A 10-way JTAG header is provided on the Carrier Board. However, this header
                    does not include the reset signal. Use of the JTAG Expansion Board is
                    necessary in order to connect this signal via a pin on the CN5 connector of the
                    Carrier Board.
                   On the Carrier Board, there is a jumper labelled JTAG (see Figure 15 on page
                    49). This jumper is normally in the DIS position. When using the JTAG
                    Expansion Board, first move the jumper to the EN position. This remaps the
                    JN516x UART0 signals from the USB serial connection to the JTAG port.
                   The JTAG Expansion Board must be connected directly to a Carrier Board.
                    Another expansion board (e.g. Lighting/Sensor Expansion Board) can then be
                    stacked on top of the JTAG Expansion Board.
                   The wired connection between the JTAG Expansion Board and the
                    development PC must be made via a JTAG adaptor/dongle (e.g. Beyond
                    Debug Key).
                   The JTAG connector used (J1 or J2) depends on the external JTAG adaptor/
                    dongle. The J1 connector corresponds to the Altera pinout.
                   If you are using the BeyondStudio for NXP development platform, you should
                    refer to the Application Note JN516x JTAG Debugging in BeyondStudio
                    (JN-AN-1203) for guidance on debugging your application via the JTAG
                    Expansion Board. This Application Note is available from the NXP web site
                    (see “Support Resources” on page 7).


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         A.5 JN5169 Modules
               The evaluation kit includes two JN5169-based modules that plug onto the DR1174
               Carrier Board. Each is a JN5169-001-M00 module mounted on a DR1179 Mezzanine
               Board, the part number of the combined component being JN5169-001-T00. This
               module features a JN5169-001 wireless microcontroller and an integrated PCB
               antenna.


                                    Note: The JN5169 modules that are pre-fitted to Carrier
                                    Boards are pre-programmed with the ZigBee Smart
                                    Home Demonstration. Firmware re-programming of
                                    JN516x modules is described in Appendix C.1.



         A.6 USB Dongles
               Two JN5169 USB Dongles (part number: OM15020) are supplied in the kit. One is
               intended for use in the ZigBee Smart Home Demonstration and the other can be
               employed in some other capacity, such as packet sniffing (see below).
               The JN5169 USB Dongle has the following features:
                      JN5169-001 wireless microcontroller (mounted directly on the board)
                      Integrated PCB antenna
                      FTDI FT232 driver chip for USB connection
                      Two LEDs (one green, one orange)




                                     Figure 28: JN5169 USB Dongle




                                    Note: The JN5169 USB Dongle is also available to
                                    purchase separately (part number OM15020). See
                                    “Optional Components” on page 7.




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                The two dongles are pre-programmed with different software, as described below. The
                dongles can be re-programmed with other applications (firmware re-programming of
                the JN5169 USB Dongles is described in Appendix C.2).

        Control Bridge
                The JN5169 USB Dongle with a green sticker is pre-programmed as a Control Bridge
                that can be used in the ZigBee Smart Home Demonstration. This software allows the
                dongle to be plugged into a USB port of the Raspberry Pi board (see Appendix A.7) to
                form an IoT Gateway:
                    The dongle provides the interface with the wireless network (WPAN) side of the
                     demonstration system, also acting as the network Co-ordinator
                    The Raspberry Pi board provides the interface with the IP (LAN/WAN) side of
                     the demonstration system
                For more details of the demonstration system, refer to Section 1.5 and Chapter 2.


                                   Note: This JN5169 USB Dongle should not be plugged
                                   directly into a USB port of the Raspberry Pi board. This
                                   connection should be made via the USB-to-USB cable,
                                   especially when the Wi-Pi adaptor is also used.


        Packet Sniffer
                The JN5169 USB Dongle with a red sticker is pre-programmed with an NXP packet
                sniffer application. To use this application, the dongle should be plugged into the USB
                port of a PC. You will need to install and use the Ubiqua Protocol Analyzer software
                on the PC. This software which can be obtained from the Ubilogix web site
                (www.ubilogix.com/products/ubiqua). A free trial of this software is available.




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         A.7 Raspberry Pi
               The Raspberry Pi single-board computer (Model B+) is intended to be used in an IoT
               Gateway to form an interface between a low-power wireless network and an
               IP-based network (see Section 1.3). It is supplied with accessories consisting of:
                      Dedicated 5V DC power supply unit (universal type) with USB port
                      microSD card (pre-installed and pre-programmed with NXP firmware)
                      Wi-Pi Raspberry Pi 802.11n wireless adaptor
                      NXP PN7120 NFC Controller (described in Appendix A.8)
                      RJ45 Ethernet cable
                      ‘USB to Micro USB’ cable (for power supply)
               The Raspberry Pi board and accessories are shown in Figure 29 below (the NFC
               Controller is shown detached from the Raspberry Pi board, the 5V DC PSU is not
               shown and a JN5169 USB Dongle is also shown).




                            Figure 29: Raspberry Pi Board and Accessories




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                Note the following:
                   The ‘USB to Micro USB’ cable allows the board to be powered from a USB port
                    on the 5V DC PSU.
                   A JN5169 USB Dongle can be plugged into any of the USB ports of the
                    Raspberry Pi board to form an IoT Gateway (see Section 1.3). However, it is
                    recommended that this connection is made via the supplied USB-to-USB cable,
                    especially when the Wi-Pi adaptor is also used (in order to ensure isolation
                    between the dongle and adaptor).
                   The JN5169 USB Dongle that is to be connected to the Raspberry Pi board for
                    the ZigBee Smart Home Demonstration is the one with a green sticker (see
                    Appendix A.6). This dongle is pre-programmed as a Control Bridge.
                   The Wi-Pi wireless adaptor can be connected directly to any of the USB ports
                    of the Raspberry Pi board in order to provide Wi-Fi connectivity.
                   The supplied NFC Controller (see Appendix A.8) can be connected to the
                    Raspberry Pi board to facilitate NFC commissioning (see Section 1.4.1).
                   The IoT Gateway software and documentation are available two Application
                    Notes: ZigBee IoT Gateway Host with NFC (JN-AN-1222) and ZigBee IoT
                    Gateway Control Bridge (JN-AN-1223).




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         A.8 NFC Controller
               The NXP PN7120 NFC Controller is supplied in the JN516x-EK004 evaluation kit to
               facilitate NFC commissioning (see Section 1.4.1), allowing an NFC tag attached to a
               Carrier Board to be read. The NFC Controller Board is provided pre-mounted on a
               Raspberry Pi Interface Board - both components come from the NXP PN7120 NFC
               Controller Single Board Computer (SBC) Kit. This NFC Controller assembly attaches
               to a Raspberry Pi board, as shown in Figure 30 below.




                      Figure 30: NFC Controller Assembly on Raspberry Pi Board

               The supplied NFC Controller assembly is a high-performance fully NFC-compliant
               expansion board for the Raspberry Pi. It complies with the Reader mode, P2P mode
               and Card Emulation mode standards. The board features an integrated high-
               performance RF antenna to ensure good interoperability with NFC devices.
               To use the supplied assembly of boards for NFC commissioning, you must mount it
               on the Raspberry Pi board. For more information and operational instructions relating
               to the NFC Controller, refer to the following NXP documentation:
                      AN11646: PN7120 NFC Controller SBC Kit Quick Start Guide
                      UM10878: PN7120 NFC Controller SBC Kit User Manual
               The above documents can be obtained from the NXP web site.
               To join a node to the network using NFC commissioning, the supplied NTAG I2C plus
               Antenna Board (NFC connected tag) must be connected to the Carrier Board of the
               node via the supplied adaptor - see Appendix A.9.



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   Appendices



        A.9 NTAG I2C plus Antenna Boards and Adaptors
                The supplied NXP NTAG I2C plus Antenna Boards (NT322E) each provide an ‘NFC
                connected tag’ that can be attached to a DR1174 Carrier Board to allow the node to
                be introduced into a network via contactless NFC commissioning. During this
                commissioning, the PN7120 NFC Controller interacts with the NFC tag (see Appendix
                A.8). The board is shown in Figure 31 below.




                              Figure 31: NTAG I2C plus Antenna Board

                The Antenna Board connects to the DR1174 Carrier Board via the 40-way interface
                on the Carrier Board (see Appendix A.1). This connection is made via the supplied
                adaptor (OM15044). A full board assembly is shown in Figure 32 below.




                          Figure 32: Fully Assembled Board with NFC Tag




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                                                                         JN516x-EK004 Evaluation Kit
                                                                                        User Guide

               The two Antenna Boards are marked with red and green stickers to indicate which
               expansion boards they must be used with. In addition, the J16 jumper on the
               OM15044 adaptor must be position correctly for the expansion board that is fitted to
               the Carrier Board (also see Figure 33 below):
                      If the Generic Expansion Board (DR1199) is fitted:
                           the Antenna Board with the red sticker must be used
                           the J16 jumper must be located in the “DIO/Switch” position to route the
                            NFC field detect signal through DIO0 of the JN516x device
                      If the Lighting/Sensor Expansion Board (DR1175) is fitted:
                           the Antenna Board with the green sticker must be used
                           the J16 jumper must be located in the “DIO17/Lighting” position to route
                            the NFC field detect signal through DIO17 of the JN516x device




                              Figure 33: J16 Jumper on OM15044 Adaptor

               NFC commissioning of the node can be performed by holding the Antenna Board over
               (but not touching) the antenna of the PN7120 NFC Controller - this action is known as
               an ‘NFC tap’.
               For more information on the NTAG I2C plus Antenna Board, refer to the following NXP
               documentation (available on the NXP web site):
                      UG313110: NTAG I²C Explorer Kit user’s manual
                      AN11597: NTAG I²C demo application for Android




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        B. Installing a Packet Sniffer
                One of the JN5169 USB Dongles supplied in the evaluation kit is programmed with an
                NXP packet sniffer application - this dongle is indicated with a red sticker. For more
                information on the JN5169 USB Dongles, refer to Appendix A.6.
                This section describes how re-program either of the dongles with the packet sniffer
                application. To use a dongle as a sniffer, you must also install the Ubiqua Protocol
                Analyzer software on the PC from which the packet sniffing will be conducted.
                Proceed as follows:
                  1. Plug the JN5169 USB Dongle into the PC.
                  2. Program the sniffer application binary into the JN5169 device on the dongle:
                          The sniffer binary file JennicSniffer_JN5169_1000000_HP.bin is
                           provided in the JN516x Software Developer’s Kit (SDK), in the directory
                           <SDK root>\bstudio_nxp\sdk\JN-SW-41xx\Tools\JennicSniffer.
                          For information on re-programming a JN5169 USB Dongle, refer to
                           Section C.2
                  3. Download the Ubiqua Protocol Analyzer software and install it on the PC:
                          You can obtain the Ubiqua Protocol Analyzer software from the following
                           web site: www.ubilogix.com/products/ubiqua (a free trial version is
                           available)
                          Run the downloaded installer and follow the on-screen installation
                           instructions
                  4. Start the Ubiqua Protocol Analyzer (ensure that the PC is connected to the
                     Internet).
                User documentation for the Ubiqua Protocol Analyzer is available from the above
                Ubiqua web site.




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         C. Firmware Re-programming
               The following components of the JN516x-EK004 Evaluation Kit are supplied already
               programmed with the Smart Home Demonstration but can be re-programmed with
               other applications:
                      JN5169 modules (on Carrier Boards) - see Appendix C.1
                      JN5169 USB Dongles - see Appendix C.2

         Flash Programmers
               The firmware re-programming described in the sub-sections below require the use of
               one of the following Flash programmers:
                      JN516x Flash Programmer built into 'BeyondStudio for NXP' and described in
                       the BeyondStudio for NXP Installation and User Guide (JN-UG-3098)
                      JN51xx Production Flash Programmer (JN-SW-4107) described in the JN51xx
                       Production Flash Programmer User Guide (JN-UG-3099)


                                   Note: The 'BeyondStudio for NXP' internal Flash
                                   programmer cannot be used to erase and re-program
                                   JN516x external Flash memory.



         C.1 Re-programming JN5169 Modules
               In order to re-program the Flash memory of the supplied JN5169 modules, you must
               connect the Carrier Board (on which the module is located) to your PC (see below).
               To perform the re-programming from your PC, you must use a JN51xx Flash
               Programmer utility (see Flash Programmers above).
               When re-programming the JN516x modules on the Carrier Boards in this kit, you must
               use one of the supplied ‘USB A to Mini B’ cables to connect a USB port of your PC to
               the USB Mini B port of the Carrier Board. When you make this connection for the first
               time, you may be prompted to install the device driver for the FTDI chip which is
               located on the Carrier Board - if this is the case, refer to Appendix D.


         C.2 Re-programming JN5169 USB Dongles
               In order to re-program the Flash memory of the supplied JN5169 USB Dongles, you
               must plug the dongle into a USB port of a PC. To perform the re-programming from
               your PC, you must use a JN51xx Flash Programmer utility (see Flash Programmers
               above).
               When you make the USB connection for the first time, you may be prompted to install
               the device driver for the FTDI chip which is located on the dongle - if this is the case,
               refer to Appendix D.




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        D. Installing the FTDI Device Driver for USB Connections
                The first time that you make a USB connection between your PC and a kit component
                which features the FTDI FT232 chip, you may be prompted to install the device driver
                for the chip on your PC. You will need to obtain the driver from the Internet.
                You must obtain the driver for your operating system from the VCP drivers page of the
                FTDI web site:
                                        www.ftdichip.com/Drivers/VCP.htm
                Download the required driver to your desktop and double-click on its icon to install. To
                perform the installation, a device or cable containing an FTDI chip must be connected
                to a USB port of your PC.




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                                                                                JN516x-EK004 Evaluation Kit
                                                                                               User Guide

         Revision History

                 Version   Date             Comments

                     1.0   19-Nov-2015      First release for preliminary kit

                     2.0   20-June-2016     Re-organised and updated for production edition of kit




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   JN516x-EK004 Evaluation Kit
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                 For online support resources and contact details of your local NXP office or distributor, refer to:

                                                          www.nxp.com



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                                    EXHIBIT B




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   VIA FEDERAL EXPRESS

                                           Without Prejudice
                                           Subject to Rule 408, Fed. R. Civ. P.
   May 24, 2017



   Guido Dierick, General Counsel
   NXP Semiconductors N.V.
   60 High Tech Campus
   5656 AG
   Eindhoven, The Netherlands

         Re: TriDiNetworks Ltd., U.S. Patent No. 8,437,276

   Dear Mr. Dierick:
          We represent TriDiNetworks Ltd. of Nesher, Israel (“TDN”), which owns
   U.S. Patent No. 8,437,276 (the “’276 patent”), and related European and Chinese
   patents. A copy of the ’276 patent may be obtained at https://www.google.com/
   patents/US8437276. We write to bring the ’276 patent and the observed
   infringement thereof by NXP to the attention of NXP and its U.S. subsidiary, NXP
   Semiconductors USA, Inc., and to raise the possibility of amicably resolving this
   matter without resort to litigation.
         TDN is no stranger to NXP. In February 2008, when the ’276 patent was in
   prosecution, representatives of NXP, including Jerome Juvin, Rodolfo Gomes, and
   Oren Bar-On, met with TDN in Haifa under NDA (NL57220) regarding a potential
   commercial relationship in the field of Internet of Things (IoT) controllers. On
   February 19, 2008, TDN presented its Alpha system to the NXP representatives,
   complete with a system diagram. The Alpha system was based on boards and
   controllers from NXP and ZigBee wireless modules from Texas Instruments.
   TDN’s system was an advance that provided for secure connected devices that
   could be conveniently commissioned for wide-scale deployment – a next
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   generation of controllers that provided an outstanding fit with NXP’s existing
   product line and expertise.
          During these meetings, TDN discussed with NXP a project in which TDN
   would supply the commissioning/setup technology for such products, and NXP
   would provide the NFC chips. In particular, the parties discussed TDN purchasing
   from NXP component devices that TDN would use in making its own line of
   products under the pending TDN patent application that would mature into the
   ’276 patent. TDN’s patent application was made known to NXP during the
   referenced meetings. TDN also recommended during those meetings that NXP
   bring to market more suitable NFC chips for contactless commissioning.
         The referenced discussions went on for well over a year. On September 3,
   2008, the above-referenced NDA was extended to January 2009. Another formal
   NDA further extending the discussions (NL-09-1330) was signed by you (Guido
   Dierick) in July 2009. The parties prepared a written agreement of “Cooperation
   Principles” on October 6, 2009.
         Secured connected devices coupled by NFC was an important new direction
   for NXP. However, NXP did not proceed with the project it had discussed with
   TDN. Rather, it has come to TDN’s attention that since the time of the above-
   described meetings NXP itself has developed products very similar to what TDN
   had presented to NXP in Haifa, using chips very close to TDN’s recommendations.
   The new product line has become strategically important to NXP.
         The JN516x line of wireless microcontrollers is exemplary of the new lines
   of NXP’s secure, connected products. Recent analysis of NXP’s JN516x-EK004
   Evaluation Kit, which NXP sells in the U.S. through its U.S. subsidiary NXP
   Semiconductors USA, Inc., shows that that Kit, its software tools and use, and/or
   systems provided by NXP that include the Kit’s components, infringe one or more
   claims of the ’276 patent. Disclosures sufficient to establish such infringement may
   be found, for example, in the associated NXP User Guides (e.g., JN-UG-3108, -
   3112), and in the video accessible at http://www.nxp.com/video/%3ASMART-
   HOME-NFC-SOLUTION and the PowerPoint presentation accompanying the
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                                                                                            3




   video. These materials reflect the presence and performance of all claim elements
   of at least the independent claims of the ’276 patent.
         TDN believes that NXP is now selling in substantial volumes the production
   items corresponding to the above-mentioned Evaluation Kit, which infringe and/or
   induce or contribute to infringement in the U.S. and elsewhere under TDN’s
   corresponding patents.
         NXP, a global semiconductor giant, has had the use of TDN’s patented
   technology without payment of appropriate royalties, and has caused TDN
   considerable economic harm. We note further that the prior relationship between
   the parties raises the issue of whether NXP’s infringement has been willful, in
   which case a court could award enhanced damages and attorneys’ fees.
         Since litigating this type of matter can entail significant time commitments
   as well as large potential down-sides, we also write to raise the possibility of a
   business discussion and potential business resolution, before resorting to litigation.
   TDN has developed detailed claim charts, which we would be willing to review
   with you or your representative, in person, in connection with such discussions, to
   address any questions you may have concerning the alleged infringement. We
   would also be able to address the compensation that TDN would consider
   acceptable for past infringement and future royalties under the applicable patents.
        In view of this letter, NXP should also make certain that, beginning
   immediately, it preserves all evidence concerning the matters addressed herein.
         The foregoing is without prejudice to TDN’s rights to seek appropriate
   injunctive and monetary relief (including without limitation enhanced damages
   and/or attorneys’ fees) in the event of NXP’s non-compliance with this letter
   and/or continuing infringement, or to seek other and/or greater remedies,
   compensation, or royalties in the event NXP’s cooperation and agreement to
   mutually acceptable terms is not forthcoming.
        Please contact me no later than June 26, 2017, so that we can discuss how
   NXP intends to proceed with regard to the matters raised in this letter, and if there
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                                                                                      4




   is any additional information you wish us to consider or would like us to provide to
   you.

                                         Very truly yours,


                                         Ronald Abramson

   cc: Jennifer B. Wuamett, Deputy General Counsel, NXP Semiconductors USA,
       Inc., 6501 William Cannon Drive West, Austin, Texas 78735
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   VIA EMAIL                                Without Prejudice
                                            Subject to Rule 408, Fed. R. Civ. P.
   August 4, 2017

   Mr. Mark Patrick
   Senior Director, Intellectual Property
   NXP Semiconductors
   6501 William Cannon Drive West, MD: OE62
   Austin, Texas 78735

           Re: TriDiNetworks Ltd., U.S. Patent No. 8,437,276

   Dear Mark:
         We appreciate your having taken the time to look into this matter, and thank
   you once again for speaking with me and Dave Liston on July 18.
         To follow up on our last discussion, I enclose a claim chart, as you had
   requested.
         We believe that at this juncture, once you have had a chance to review the
   claim chart, the matter might best be discussed at an in-person meeting, where we
   can address any questions you may have. We could do such a meeting at such time
   and place (for example either New York or Austin) as may be most convenient for
   you and whoever else may need to attend on behalf of NXP.
          Please let us know about possible dates for such a meeting. We would hope
   that by the end of next week (August 11) we can have at least a tentative schedule
   for a meeting.

                                         Very truly yours,


                                         Ronald Abramson

   Encl.
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                                                                                            New York Office
                                                                                           Main: (212) 257-1630
            600 Fifth Avenue, 2nd Floor                                                    www.listonabramson.com
            New York, New York 10020




                                                      FOR PURPOSES OF COMPROMISE UNDER
                                                      F.R.E. 408; WITHOUT PREJUDICE


                                                      March 11, 2019


    VIA EMAIL (mark.patrick@nxp.com)

    Mark Patrick
    Senior Director, Intellectual Property
    NXP USA, Inc.
    6501 William Cannon Drive
    Austin, Texas 78735

             Re: TriDiNetworks Ltd., U.S. Patent No. 8,437,276

    Dear Mr. Patrick:
            I write from the new firm that Dave Liston and I, and our group, have recently formed,
    and to pick up our dialog concerning this matter.
            Your letter of September 15, 2017 raised a question concerning the communication of
    “binding information,” and suggested that NXP’s commissioning process transferred only a
    security key and therefore fell short of infringement. In a phone discussion we had following
    your letter, we pointed out that according to NXP’s own documentation, the exchange of data in
    NXP’s NFC commissioning processes goes well beyond the parameters mentioned in your letter,
    and definitely includes binding information, as well as all of the other requisites of the ’276
    patent.
           I attach an update of the claim chart we sent you previously, which further addresses the
    above-referenced technical matters.
            As you may recall, we had also raised questions about prior dealings between TDN and
    NXP involving Mr. Rodolfo Gomes and others, indicating potential willful infringement of the
    ’276 patent. We were looking forward to meeting with you, Mr. Gomes, and others, to address
    those concerns and discuss potential licensing, but those discussions have not occurred. NXP not
    only didn’t meet with us but continued to launch and promote new products that infringe TDN’s
    patents. See, for example: Unboxing and Start Up for the NXP Modular IoT Gateway and End
    Node Kit for IoT Systems, https://www.nxp.com/video/:UNBOXING-START-IOT-
    GATEWAY, posted June 11, 2018, (1.2b in Claim Chart).
            In our prior discussions, you also raised a question about the extent to which the alleged
    infringement may consist of indirect infringement, and the extent of royalties that might relate


Liston Abramson LLP
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   thereto. Our investigation since that date reflects a large volume of induced and/or contributory
   infringement by NXP. As you no doubt appreciate, the measure of damages for indirect
   infringement is substantially the same as for direct infringement.
           TDN definitely intends to pursue this matter. We would be interested to know if NXP is
   interested in pursuing a serious licensing discussion this month, before we initiate enforcement
   measures. Please let us know.
                                                Very truly yours,



                                                Ronald Abramson
   Enc.
